                 Case 3:16-bk-03913-JAF                             Doc 79          Filed 04/27/20   Page 1 of 1




                                           UNITED STATES BANKRUPTCY COURT

                                                       Middle District Of Florida
                                                    300 North Hogan Street, 3-150
                                                        Jacksonville, Florida 32202


In re:
LILY JOSEPHINE REAL
                                                                       In a Chapter 7 Case
                                                                       Case Number –3-16-3913-JAF
Debtor(s)



                              -TRANSMITTAL OF NOTICE OF APPEAL TO DISTRICT COURT-

(X) Notice of Appeal Leave pursuant to 28 USC § 158(a) filed April 3, 2020

The Party or Parties included in the Appeal to the District Court:

Appellant(s): Frank E. Polo, Sr.
Attorney: Pro Se
Appellee(s): Lily Josephine Real
Attorney: Edward P Jackson, PA, 255 North Liberty Street, Jacksonville, FL 32202

Title and Date of Orders Appealed - Order on Remand 1.) The Motions for Sanctions filed by the Debtor is
Granted; 2.) The Court imposes sanctions against frank Polo in the amount of $4,935.00; 3) Mr. Polo shall pay
$4,935.00 to Edward Jackson, Esq within 60 days of the date of this Order entered on the docket March 16, 2020
from the Order Denying Motion to Dismiss, Granting Motion for Sanctions, Awarding Attorney’s Fees, and
Enjoining Appellant from any Further Attempt to Collect Alleged Pre-Petition Debt from Appellee filed April 26,
2018

Items included in supplemental transmittal pursuant to F.R.B.P. 8003(b):
(X) Notice of Appeal and Order                                                           ( ) Any Answers(s)
( ) Designation in Appeal of Appellant                                                   ( ) Transcripts
( ) Designation in Cross Appeal
                                                                                         ( ) Exhibits
( ) Other:
***APPEAL FILED 18TH DAY AFTER ORDER ENTERED AND THERE IS A MOTION TO WAIVE APPEAL
FEE BEING DETERMINED BY CHAMBERS***

  Case number(s) of Pending Appeal(s) in this Case: none
District Court Number 3:20-cv-429-J-32.         County of Residence: Duval Date April 23, 2020                 By: Cathy Perkins
 PREVIOUS CASE #3-18-
CV-662-J-39 WAS REMANDED BY
JUDGE BRIAN J. DAVIS




REAL TRANSMITTAL.doc /   /   / Revised: 4/23/2020 3:48:00 PM   Printed: 4/23/2020                              Page: 1 of 1
